               FOR PUBLICATION

  UNITED STATES COURT OF APPEALS
       FOR THE NINTH CIRCUIT

KIMBERLY MARROQUIN,                  No.   23-55423

            Plaintiff-Appellee,         D.C. No.
                                     2:21-cv-07607-
 v.                                    RGK-JEM

CITY OF LOS ANGELES;
DIMAGGIO RICO, Officer, # 43442,       OPINION

            Defendants-Appellants,

and

UNIDENTIFIED LAPD OFFICER;
RICHARD PAUL STABILE, Captain;
MATTHEW CLYMER, Officer, #
35204; ALFRED CORSO, Officer, #
31160; LYMAN, Officer, # 38908;
SANTIAGO, Officer, # 38473;
HERMAN USMA, Officer, # 34439;
WILLIAM THOMAS, Officer, #
41752; MARVIN PEREZ, Officer, #
43105; ANTHONY CARILLO,
Officer, # 43442; DOMINIC
SANTIAGO, Sgt., # 34994,

            Defendants.
2                MARROQUIN V. CITY OF LOS ANGELES


          Appeal from the United States District Court
             for the Central District of California
          R. Gary Klausner, District Judge, Presiding

               Argued and Submitted June 3, 2024
                     Pasadena, California

                      Filed August 27, 2024

     Before: Milan D. Smith, Jr. and Bridget S. Bade, Circuit
        Judges, and Sidney A. Fitzwater, * District Judge.

                     Opinion by Judge Bade


                          SUMMARY **


              Civil Procedure / Post-Trial Orders

    The panel affirmed the district court’s post-trial orders
after a jury returned verdicts in favor of Kimberly Marroquin
in her 42 U.S.C. § 1983 action against Los Angeles Police
Officer DiMaggio Rico and the City of Los Angeles alleging
excessive force and negligence.
    After the jury returned inconsistent damages awards
against Officer Rico and the City on Marroquin’s excessive
force and negligence claims, the district granted a new trial

*
  The Honorable Sidney A. Fitzwater, United States District Judge for
the Northern District of Texas, sitting by designation.
**
  This summary constitutes no part of the opinion of the court. It has
been prepared by court staff for the convenience of the reader.
              MARROQUIN V. CITY OF LOS ANGELES              3


limited to damages pursuant to Fed. R. Civ. P. 59(a)(1)(A),
to prevent a miscarriage of justice. The district court
subsequently denied defendants’ motion for relief from
judgment under Fed. R. Civ. P. 60(b)(2) based on newly
discovered evidence, finding that defendants had failed to
show reasonable diligence in discovering the evidence and
that even assuming the new evidence would conclusively
change the result of the trial, defendants’ failure to show
reasonable diligence was fatal to their motion.
    The panel held that the district court did not abuse its
discretion by granting a new trial limited to the issue of
damages, and rejected defendants’ argument that the liability
issues and damages issues were so interwoven that a
damages-only trial deprived them of their Seventh
Amendment right to a fair trial. The panel agreed with the
district court that it was highly likely that the jury’s
confusion when awarding damages was caused by an
improper instruction on the verdict form to apportion
damages. Because the liability issues were distinct and
separable from the damages issues and defendants had no
evidence to support their contention that the jury’s confusion
extended to liability, the jury’s improper award of damages
did not taint its findings on liability.
    The panel held that the district court did not abuse its
discretion by denying the Rule 60(b)(2) motion for relief
from judgment because, as defendants conceded, they failed
to exercise reasonable diligence in discovering the new
evidence. The panel joined the Seventh Circuit in
concluding that there is no exception to Rule 60(b)(2)’s
requirement of reasonable diligence when the newly
discovered post-judgment evidence is “conclusive.
4             MARROQUIN V. CITY OF LOS ANGELES


                         COUNSEL

Blithe S. Bock (argued), Burke Williams &amp; Sorensen LLP,
Los Angeles, California; Shaun D. Jacobs, Supervising
Assistant City Attorney; Scott Marcus, Chief Assistant City
Attorney; Denise C. Mills, Chief Deputy City Attorney;
Hydee F. Soto, City Attorney; Los Angeles Office of the
City Attorney, Los Angeles, California; for Defendants-
Appellants.
Steven B. Stevens (argued), Steven B. Stevens A Prof.
Corp., Los Angeles, California; Ashley M. Conlogue and
Kevin S. Conlogue, Conlogue Law LLP, Beverly Hills,
California; for Plaintiff-Appellee.


                         OPINION

BADE, Circuit Judge:

    In this appeal, Defendants-Appellants Los Angeles
Police Officer DiMaggio Rico and the City of Los Angeles
challenge the district court’s post-trial orders after a jury
returned verdicts in favor of Plaintiff-Appellee Kimberly
Marroquin. First, Defendants challenge the district court’s
order granting a new trial limited to damages under Federal
Rule of Civil Procedure 59(a) and, second, they challenge
the district court’s order denying their motion for relief from
judgment under Rule 60(b)(2) based on newly discovered
evidence.
    After the jury returned inconsistent damages awards
against Officer Rico and the City on Marroquin’s excessive
force and negligence claims, both Marroquin and
Defendants filed motions for a new trial limited to damages
              MARROQUIN V. CITY OF LOS ANGELES              5


under Rule 59(a), arguing that the jury erred by apportioning
damages unevenly. The district court concluded that the jury
had likely been misled by an incorrect verdict form and
ordered a new trial on damages “to prevent a miscarriage of
justice.”
    Defendants then moved for relief from judgment under
Rule 60(b)(2) based on newly discovered evidence that they
argued would conclusively change the result of the trial. The
district court denied the motion, finding that Defendants had
failed to show they exercised reasonable diligence in
discovering this evidence and concluding that, even
assuming the new evidence was conclusive, Defendants’
failure to show reasonable diligence was fatal to their
motion.
    Defendants argue that the district court abused its
discretion by: (1) granting a partial new trial under Rule
59(a) when the liability issues and damages issues were so
interwoven that a new, damages-only trial deprived them of
their Seventh Amendment right to a fair trial; and
(2) denying their Rule 60(b)(2) motion based on a lack of
due diligence without considering whether there was a
“conclusive” evidence exception to Rule 60(b)(2). We hold
that the district court did not abuse its discretion either by
ordering a new trial limited to damages under Rule 59(a), or
by denying the Rule 60(b)(2) motion, and we affirm.
                              I.
                             A.
   On October 11, 2020, the Los Angeles Lakers beat the
Miami Heat in game six of the NBA championship series,
becoming the 2019–2020 NBA champions. After the game,
a crowd gathered outside the Lakers’ arena, the Staples
6              MARROQUIN V. CITY OF LOS ANGELES


Center, 1 to celebrate their team’s victory. One of the
individuals in the crowd surrounding the Staples Center was
Kimberly Marroquin. Marroquin was a Lakers fan who had
watched the game at home. After the Lakers won, she
decided to meet a friend, Brenda Gomez, outside the Staples
Center. When Marroquin and Gomez first arrived, there
were not “a lot of people there,” but shortly thereafter the
“crowd started getting bigger” and “[t]raffic got jammed.”
Individuals in the crowd began lighting smoke bombs, doing
doughnuts with their cars, and throwing rocks and bottles at
police officers.
    When this chaotic scene began developing in the area
around the arena, the Los Angeles Police Department
(LAPD) initiated “crowd management” measures, which
included declaring unlawful assemblies at several
intersections near the Staples Center. The purpose of
declaring an unlawful assembly was to provide time for
people to leave the area before deploying crowd control
tactics, such as skirmish lines and batons. At around 8:50
p.m., the LAPD declared an unlawful assembly at the
intersection of 12th Street and Figueroa Street.
    Officer Rico arrived at the Staples Center around 9:00
p.m. and was positioned on a skirmish line facing
southbound on Figueroa Street, along with nine other
officers. At 9:02 p.m., Officer Rico turned on his body
camera. About four minutes after he turned on his camera,
Officer Rico discharged a .40-millimeter less-lethal
launcher. No other officer in the skirmish line facing


1
  In 2020, the arena was called the Staples Center. In 2021, it was
renamed the “Crypto.com Arena.” We refer to the arena as the Staples
Center because this was the arena’s name when Marroquin was injured.
                 MARROQUIN V. CITY OF LOS ANGELES                       7


southbound on Figueroa Street discharged a .40-millimeter
round that night.
    Marroquin and Gomez were also located near the
intersection of 12th Street and Figueroa Street at 9:00 p.m.
When the police presence developed south of Figueroa
Street, they decided to leave the area, walking northbound.
Other members of the crowd surrounding Marroquin and
Gomez were “rushing and running” to leave the area.
Marroquin felt something “impact” her head and fell to the
ground. She spent a couple of seconds on the ground, dazed
from the impact, and saw a blue rubber bullet nearby. After
another member of the crowd picked Marroquin up and told
her that she “had to keep going,” Marroquin told Gomez that
she had been shot.
                                   B.
    Marroquin sued several LAPD officers and the City,
alleging that, while she was “celebrating the recent Lakers’
NBA Finals win,” an LAPD officer shot her “in the head
with a less lethal rubber projectile round,” causing her
“substantial physical and emotional injuries.” Marroquin
brought claims under 42 U.S.C. § 1983 for First Amendment
violations, excessive force, state-created danger, Monell 2
and supervisory liability, as well as California state law
claims for negligence, battery, and a Bane Act violation.
Two sets of claims survived summary judgment and
proceeded to trial: the state law claims and an excessive
force claim under § 1983 against Officer Rico, and the state
law claims and a Monell claim under § 1983 against the City.


2
  See Monell v. Dep’t of Soc. Servs., 436 U.S. 658, 662–63 (1978)
(holding that “local government[s] . . . are ‘persons’” for purposes of 42
U.S.C. § 1983).
8             MARROQUIN V. CITY OF LOS ANGELES


    These claims proceeded to a three-day jury trial. All
parties agreed that Marroquin was injured outside the Staples
Center on October 11, 2020. But the cause of her injury was
disputed.
    Officer Rico testified that he fired his .40-millimeter
launcher in response to a man “raising a beer bottle to throw
at an officer.” Officer Rico believed that this man, who was
about 90 to 105 feet away, posed a threat of serious bodily
injury. He testified that, in response, he shot his 40-
millimeter launcher, saw that the round hit the man “in his
navel area” and that, after the man was shot, he ran off into
the crowd.
    Marroquin testified that, while she and Gomez were
“walking northbound,” she “felt [herself] get shot in the
head.” She fell to the ground and “saw a blue rubber bullet”
nearby. And when she stood up, she told Gomez that she
had been shot. Marroquin claimed that, prior to being shot,
she did not “see anyone about to throw anything.” Gomez
also testified that Marroquin “immediately” told her that she
had been shot, but admitted that the crowd “trampled” her
and Marroquin, and that she discovered Marroquin’s head
injury “right after” that “stampede.”
    The body camera footage admitted into evidence did not
clearly support either Officer Rico’s or Marroquin’s account.
Officer Rico’s bodycam footage shows that an individual
threw a glass bottle at the officers immediately prior to the
discharge of Officer Rico’s weapon. But his bodycam
footage does not show the individual that Officer Rico
asserted was in the process of throwing a bottle, nor does any
other officer’s bodycam footage.
    Marroquin introduced testimony on the damages
resulting from her head injury. Two doctors, Dr. Taylor
              MARROQUIN V. CITY OF LOS ANGELES             9


Kuhn (a neuropsychologist) and Dr. Marisa Chang (a
neurologist) testified that they diagnosed Marroquin with
traumatic brain injury. Dr. Chang testified that Marroquin
reported symptoms including migraines, confusion,
difficulty focusing, and memory issues, and that she treated
Marroquin’s symptoms by prescribing stimulants to help
with her memory and concentration, prescribing medications
for headaches, and recommending cognitive therapy.
Marroquin’s therapist, Dr. Sheila Gross, testified that
Marroquin occasionally reported symptoms arising from the
head injury. Marroquin also testified that her symptoms
impacted her work and caused her to become anti-social.
    Defendants moved for judgment as a matter of law under
Rule 50(a) at the close of Marroquin’s evidence, and the
district court granted the motion in part after Defendants
presented their evidence. The excessive force claim against
Officer Rico, and the negligence and battery claims against
Officer Rico and the City, were submitted to the jury.
    The jury found in Marroquin’s favor on her claims
against Officer Rico for excessive force and negligence, and
on her negligence claim against the City. But Officer Rico
and the City were found not liable for battery. The jury next
considered damages. The verdict form asked the jury to
assess damages against each defendant. The jury awarded
Marroquin $1.00 in damages against Officer Rico, and
$1,500,000.00 in damages against the City.
                             C.
    After the verdict, Defendants renewed their motion for
judgment as a matter of law under Rule 50(b). They argued
that because the City’s liability for negligence was
“vicarious and dependent upon that of Rico,” the jury could
award only “the same damages as those awarded against
10             MARROQUIN V. CITY OF LOS ANGELES


Rico.” Because the “damages against the City” exceeded
those “awarded against Rico,” Defendants argued that the
district court “should grant the Defendants’ motion for
judgment as a matter of law,” “vacate the award of damages
against the City,” and enter “the same nominal award the
jury found” against Rico. Alternatively, Defendants argued
that the court should grant a new trial limited to damages
under Rule 59(a).
    Marroquin also moved to alter or amend the judgment,
citing Rule 59(e). She argued that the jury determined that
damages totaled $1,500,001.00, that the damages were “not
in dispute,” but that the jury erred in apportioning the
damages unevenly between Officer Rico and the City.
Marroquin requested that the judgment be amended to award
“1,500,0001.00 against both” Officer Rico and the City. In
the alternative, if the district court determined that “only
$1.00 in damages is imposed against Defendant Rico,”
Marroquin requested that “a new trial be ordered as to
damages” pursuant to Rule 59(a) because such an award was
not “appropriate to compensate [Marroquin] for [her] loss.”
    The district court denied Defendants’ renewed motion
for judgment as a matter of law under Rule 50(b) and
Marroquin’s motion to alter or amend the judgment under
Rule 59(e) because it was “impossible to conclusively
determine the jury found either that: (1) Plaintiff did not
prove her damages case at all; or (2) that [the jury] found her
damaged in the amount of $1,500,001.” But the district
court agreed with the parties’ argument that “the jury’s
decision to assign a $1 liability to Rico and a $1,500,000
liability to the City is irreconcilable.” The court explained
that the same continuous course of conduct by Officer Rico
led to “a single indivisible injury” and “[i]n indivisible injury
cases, damages are not assessed by defendant or by claim but
              MARROQUIN V. CITY OF LOS ANGELES              11


for an injury.” Therefore, the district court denied the
parties’ requests to adjust the damages, but granted a new
trial limited to damages.
                              D.
    Prior to the second trial, Defendants moved for relief
from judgment under Rule 60(b)(2) based on two
“previously undiscovered” surveillance tapes from the
Staples Center. According to Defendants, the Staples Center
videos revealed “that the respective locations of Plaintiff and
Defendant Rico were such that Defendant Rico could not
possibly have discharged the round that Plaintiff alleges
caused her injury.” Defendants argued that they exercised
reasonable diligence in discovering the footage because
Officer Rico “stumbled upon it as a result of a separate and
unrelated investigation,” and because Defendants “had no
reason to believe that such videographic evidence existed.”
In a declaration in support, Officer Rico stated that, since
January 2020, he had worked security for the Staples Center
when off-duty. While participating in an investigation in his
“off-duty” capacity for Staples Center security in January
2023, he reviewed security camera footage, which led him
to inquire about whether there was footage of the October
11, 2020, incident. In March 2023, he was advised that there
was footage of the incident.
     The district court denied the Rule 60(b)(2) motion,
explaining that “Defendants have not come close to showing
due diligence” because, even though “it became clear during
discovery that causation was likely to be a primary issue,”
“neither Rico nor his attorneys contacted the Arena prior to
trial to inquire about the existence of surveillance footage,”
which was an “astonishing oversight, given that Rico (by his
own admission) had easy access to the footage.” See Fed. R.
12            MARROQUIN V. CITY OF LOS ANGELES


Civ. P. 60(b)(2) (allowing relief from judgment based on
newly discovered evidence only when that evidence could
not have been previously discovered “with reasonable
diligence”). The district court concluded that, even
assuming the surveillance footage “would have conclusively
changed the outcome at trial,” this failure to show due
diligence was “fatal.”
                              E.
    The district court then held a two-day trial limited to
damages. Like the first trial, Marroquin testified about her
symptoms. But she did not testify regarding the events
leading up to the injury—nor did any other witness. Dr.
Chang, Dr. Kuhn, and Dr. Gross provided testimony that was
largely identical to their testimony at the first trial.
     Defendants did not present any witnesses. Unlike the
verdict form in the first trial, the verdict form in the second
trial did not ask the jury to apportion damages by defendant.
Instead, the verdict from asked the jury, “What are Plaintiff
Kimberly Marroquin’s damages?” The jury awarded
Marroquin a total of $500,000.00 against both Defendants,
and the district court entered final judgment.
                              II.
    We have jurisdiction over a district court’s final
decisions, including final judgments. 28 U.S.C. § 1291. We
review for abuse of discretion the denial of a Rule 59(a)
motion for a new trial, Molski v. M.J. Cable, Inc., 481 F.3d
724, 728 (9th Cir. 2007), as well as the denial of a Rule 60(b)
motion for relief from judgment, see United States v. Asarco
Inc., 430 F.3d 972, 978 (9th Cir. 2005).
              MARROQUIN V. CITY OF LOS ANGELES               13


                              III.
     We first consider the district court’s order granting a new
trial limited to damages pursuant to Rule 59(a). The district
court granted a new trial limited to damages after concluding
that it was necessary “to prevent a miscarriage of justice.”
We hold that the district court did not abuse its discretion by
granting a new trial limited to the issue of damages because
Defendants have failed to show that the liability and
damages issues were so interwoven that a partial trial
deprived them of their Seventh Amendment right to a fair
trial.
                              A.
    After a jury trial, a district court may “grant a new trial
on all or some of the issues” based on “any reason for which
a new trial has heretofore been granted in an action at law in
federal court.” Fed. R. Civ. P. 59(a)(1)(A). The decision to
grant a partial new trial, however, is cabined by the Seventh
Amendment, which prohibits ordering a new trial limited to
damages when damages issues are “so interwoven with
[liability issues] that the former cannot be submitted to the
jury independently of the latter without confusion and
uncertainty.” United Air Lines, Inc. v. Wiener, 286 F.2d 302,
305 (9th Cir. 1961); see also Gasoline Prods. Co. v.
Champlin Refin. Co., 283 U.S. 494, 500 (1931). Thus, when
“a tangled or complex fact situation would make it unfair to
one party to determine damages apart from liability,” Pryer
v. C.O. 3 Slavic, 251 F.3d 448, 455 (3d Cir. 2001), a district
court errs by granting a new trial limited to damages. United
Air Lines, 286 F.2d at 305.
   In addition, when a plaintiff seeks exemplary or punitive
damages, we have held that ordering a partial trial limited to
damages is impermissible. See id. at 306. In such a case,
14              MARROQUIN V. CITY OF LOS ANGELES


liability issues are necessarily interwoven with damages
issues because the damages “depend upon the degree of
culpability of the defendant.” Id. And defendants, faced
with the prospect of exemplary or punitive damages, are
entitled to present evidence not only to show they were not
negligent, but that, “even if there was negligence[,] there was
no willfulness or wantonness or extreme recklessness.” Id.     We have also suggested, albeit in dicta, that separate
trials on liability and damages tend to “create ‘confusion and
uncertainty’” when liability depends on a certain degree of
damages. Miller v. Fairchild Indus., Inc., 885 F.2d 498, 511
(9th Cir. 1989) (citation omitted) (suggesting that the
“district court on remand reconsider its view that”
bifurcation was warranted because “the issue of liability [for
an intentional infliction of emotional distress claim] is
intertwined with the issue of damages since the trier of fact
can find liability only if it first finds that the plaintiff suffered
severe emotional distress”), as amended on denial of reh’g
and reh’g en banc (Sept. 19, 1989). And, therefore,
defendants faced with such a claim would be entitled to
present evidence to show that they did not inflict sufficient
damage. See id.     While liability and damages issues may be so interwoven
that a separate damages trial would result in a denial of a fair
trial because of the elements necessary to establish liability
or the type of damages sought, a Seventh Amendment
violation may also result when a jury’s mistake in awarding
damages tainted the liability finding. See Larez v. Holcomb,
16 F.3d 1513, 1520–21 (9th Cir. 1994); 11 Charles Alan
Wright et al., Federal Practice and Procedure § 2814 (3d
ed. June 2024 update). A “general assertion” that a mistaken
award of damages tainted a jury’s liability finding is
insufficient, Digidyne Corp. v. Data Gen. Corp., 734 F.2d
                 MARROQUIN V. CITY OF LOS ANGELES                        15


1336, 1347 (9th Cir. 1984); instead, a party must provide
evidence that the damages tainted the liability finding.
Larez, 16 F.3d at 1520.
    Regardless of the context, though, the ultimate question
when determining whether a separate damages trial violates
a party’s Seventh Amendment rights remains the same: Are
the liability issues “distinct and separable” from the damages
issues, so that “trial of [damages] alone may be had without
injustice”? Gasoline Prods., 283 U.S. at 500.
                                    B.
    Here, the jury awarded Marroquin $1,500,001.00 in
damages, with the City liable for $1,500,000.00 and Officer
Rico liable for $1.00. Both parties moved for a new trial
limited to damages under Rule 59(a), arguing that the jury
erred by apportioning damages unevenly. The district court
granted these motions and ordered a new trial limited to
damages. Defendants argue that this violated their Seventh
Amendment right to a fair trial. 3 They contend that the

3
  Marroquin argues that Defendants “waived [this] challenge to the
district court’s order” granting a partial new trial because they failed to
argue that liability issues were interwoven with damage issues in front
of the district court and instead “asked for a partial new trial on
damages.” Defendants may have forfeited the issue by not making a
timely assertion of their Seventh Amendment right in the district court,
but they did not waive it because Marroquin has not identified portions
of the record that “evince [Defendants’] intentional relinquishment of a
known right.” Hebrard v. Nofziger, 90 F.4th 1000, 1006 (9th Cir. 2024);
see Crowley v. EpiCept Corp., 883 F.3d 739, 748 (9th Cir. 2018) (per
curiam) (explaining that forfeiture is the failure to timely assert a right,
whereas waiver is the intentional relinquishment or abandonment of a
known right). If Defendants had forfeited the issue, they would be
required to demonstrate that the district court committed plain error. See
16              MARROQUIN V. CITY OF LOS ANGELES


liability issues were not “distinct and separable” from the
damages issues because the disputed circumstances leading
to Marroquin’s injury—which were highly relevant to
determining Officer Rico’s liability—were also relevant to
determining emotional damages.
    Although conduct leading to an injury can, depending on
the context, be relevant to a claim of emotional damages,
Marroquin’s theory of emotional damages did not depend on
the events leading to her injury. When a claim seeks
damages “for pain and suffering associated with . . . physical
injury,” damages for emotional pain “are traditionally
compensable.” Norfolk &amp; W. Ry. Co. v. Ayers, 538 U.S. 135,
148 (2003). The “most common claims of emotional
distress” are associated with damages stemming from
“tortious injury, [such] as in an every-day automobile
accident, medical malpractice, product injury, or toxic
injury.” D. Dobbs, The Law of Torts § 382 (2d ed. Apr. 2024
Update). Emotional damages are also recoverable, though,
from “the conduct which causes” bodily harm. Restatement
(Second) of Torts § 456 (1965); see Norfolk, 538 U.S. at
154, 157–58 (holding that, once defendants are found liable
for causing the plaintiffs’ asbestosis, the plaintiffs could
recover damages related to fear of cancer exposure that
resulted from the “conduct which cause[d]” their asbestosis).
    Marroquin’s theory of emotional damages falls within
the category of such damages arising from physical injury.
Although Defendants assert that “the damages . . . did not
lend themselves to a damages-only trial,” multiple witnesses
traced Marroquin’s emotional damages to the head injury,

Crowley, 883 F.3d at 748. Because we conclude Defendants failed to
establish that the district court erred under the less-stringent abuse of
discretion standard, we need not reach the issue of forfeiture.
              MARROQUIN V. CITY OF LOS ANGELES              17


not Officer Rico’s conduct. Several doctors testified that
they diagnosed Marroquin with a traumatic brain injury, and
that the injury caused her symptoms, including anxiety.
Marroquin also testified that the head injury caused her to
become anti-social and irritable, which was consistent with
Gomez’s testimony that Marroquin appeared to be different
after being injured—describing her as “traumatized,”
“standoffish,” and “not the same.”
    Furthermore, no testimony was introduced that
Marroquin feared the impending impact of the bullet—
indeed, she claimed that she was unexpectedly shot. Cf.
Restatement (Second) of Torts § 456 cmt. e (1965) (“[O]ne
who is struck by a negligently driven automobile and suffers
a broken leg may recover not only for his pain, grief, or
worry resulting from the broken leg, but also for his fright at
seeing the car about to hit him.”). And Marroquin has never
claimed that, once she found out about Officer Rico’s
conduct, she feared a future injury. See Norfolk, 538 U.S. at
159 (concluding that plaintiff could recover emotional
damages for fear of cancer when a “fear of future injury
stem[med] from” conduct which caused a current injury).
    To support their argument, Defendants cite only Spence
v. Board of Education of the Christina School District,
806 F.2d 1198 (3d Cir. 1986). But Spence is inapposite.
While the Third Circuit in Spence did state that “emotional
distress damages must be evaluated in light of all the
circumstances,” the court was not considering a claim of
emotional damages stemming from a physical injury. Id. at
1202. Instead, Spence considered a claim under 42 U.S.C.
§ 1983 alleging retaliation for the exercise of First
Amendment rights. Id. at 1199–1200. That kind of claim
imposed an additional causation requirement to recover
emotional damages that was intertwined with liability issues.
18           MARROQUIN V. CITY OF LOS ANGELES


Id. at 1201 (To recover emotional damages, plaintiff had to
“submit sufficient evidence to prove that emotional
injuries . . . were caused by defendant’s conduct.”). But as
explained above, in cases involving physical injury,
emotional damages resulting from bodily harm are
compensable without any additional layer of causation.
Norfolk, 538 U.S. at 148–49.
    In short, Marroquin claimed that her head injury caused
her emotional damages, not that Officer Rico’s conduct
caused her emotional damages. Therefore, the liability
issues concerning Rico’s conduct causing this injury were
“distinct and separable” from the emotional damages issues.
Gasoline Prods., 283 U.S. at 500.
    Defendants also argue that the liability issues were not
“distinct and separable” from the damages issues “because
the jury’s monetary verdict showed its confusion on
liability.” They contend that the damages verdict showed
confusion on liability because the jury awarded only nominal
damages against Rico “but significant damages as against
the City.”
    But Defendants have not identified any evidence
showing that the jury’s improper apportionment of damages
tainted the liability finding. See Larez, 16 F.3d at 1520;
McClain v. Owens-Corning Fiberglas Corp., 139 F.3d 1124,
1128 (7th Cir. 1998). A district court does not err by
ordering a new trial limited to damages merely because a
party correctly claims that a jury made a mistake when
awarding damages. See Larez, 16 F.3d at 1520. More is
needed: a party must identify evidence showing that “jury
confusion appears likely” both as to liability and damages.
Experience Hendrix L.L.C. v. Hendrixlicensing.com Ltd.,
762 F.3d 829, 847 (9th Cir. 2014), as amended (Aug. 8,
              MARROQUIN V. CITY OF LOS ANGELES              19


2014); Larez, 16 F.3d at 1520. Thus, a jury’s liability
determination is “not upset” when there “is no
evidence . . . that [an improper instruction on damages]
might have infected the jury’s determination of liability.”
Larez, 16 F.3d at 1520; see Experience Hendrix, 762 F.3d at
847 (holding that the district court did not abuse its
discretion in granting a new trial limited to damages when
the jury’s instructions on damages “likely fostered confusion
among jurors”).
    Defendants argue that the jury reached inconsistent
findings on liability which, when coupled with the damages
award, “indicates juror confusion” on both liability and
damages. According to Defendants, finding Officer Rico
liable for excessive force and negligence was inconsistent
with the jury finding him not liable for battery because all
three claims require “unreasonable force.”
    We conclude that the jury’s differing liability findings on
various claims (i.e., finding Defendants not liable for
battery) do not establish that the jury was confused on
Defendants’ liability for the excessive force and negligence
claims. Under California law, a battery claim requires that a
defendant touch a plaintiff “with the intent to harm or
offend.” Carlsen v. Koivumaki, 174 Cal. Rptr. 3d 339, 351
(Ct. App. 2014). But neither a California negligence claim,
nor an excessive force claim, requires the same level of
intent. Nelson v. City of Davis, 685 F.3d 867, 876 (9th Cir.
2012) (“The intentionality requirement [for a Fourth
Amendment excessive force claim] is satisfied when the
termination of freedom of movement [occurs] through
means intentionally applied.” (second alteration in original)
(emphasis, internal quotation marks, and citation omitted));
Thomas v. Stenberg, 142 Cal. Rptr. 3d 24, 29 (Ct. App. 2012)
(negligence claim elements). As the district court explained
20               MARROQUIN V. CITY OF LOS ANGELES


when denying Defendants’ Rule 50(b) motion, the jury’s
liability findings were reconcilable because “all the jury was
required to find was that Rico did not intend to harm
[Marroquin] directly.”
     We therefore agree with the district court that it is highly
likely that the jury’s confusion when awarding damages was
caused by the improper instruction on the verdict form to
apportion damages. Because Defendants have no evidence
“to support [their] contention” that this confusion extended
to liability, Digidyne Corp., 734 F.2d at 1347, we conclude
the jury’s improper award of damages did not taint its
findings on liability.4
    Because the liability issues were distinct and separable
from the damages issues, we conclude that the district court
did not abuse its discretion in granting a new trial limited to
damages.




4
   Defendants contend that two cases from this court—Grimm v.
California Spray-Chemical Corp., 264 F.2d 145 (9th Cir. 1959), and
d’Hedouville v. Pioneer Hotel Co., 552 F.2d 886 (9th Cir. 1977)—
support the conclusion that a partial trial limited to damages “is
particularly inappropriate” when “liability is hotly contested.” But
nothing in these cases suggests that a close question of liability alone
makes it an abuse of discretion to grant a separate damages trial. Instead,
the court in d’Hedouville applied the doctrine that “it is an abuse of
discretion to grant [a partial damages-only trial] if the question of
liability is close, if the damages awarded are grossly inadequate, and if
there are other circumstances that indicate that the verdict was the result
of prejudice or an improper compromise,” and noted that Grimm had
previously “cited [this doctrine] with approval.” 552 F.2d at 897
(citation omitted). Defendants do not contend that damages are “grossly
inadequate,” so those cases are inapplicable here. Id.
              MARROQUIN V. CITY OF LOS ANGELES             21


                             IV.
    We next turn to Defendants’ argument that the district
court abused its discretion by failing to apply a “conclusive”
evidence exception to Rule 60(b)(2)’s reasonable diligence
requirement. See Tattersalls, Ltd. v. DeHaven, 745 F.3d
1294, 1297 (9th Cir. 2014) (“A legal error is an abuse of
discretion.”). We hold that the district court did not abuse
its discretion because there is no “conclusive evidence”
exception to Rule 60(b)(2)’s “reasonable diligence”
requirement.
                             A.
     Rule 60(b) enables courts to grant relief from judgment
to parties based on certain substantive errors. Delay v.
Gordon, 475 F.3d 1039, 1044–45 (9th Cir. 2007). Under
Rule 60(b)(2), a court may revise a judgment because of
“newly discovered evidence that, with reasonable diligence,
could not have been discovered in time to move for a new
trial under Rule 59(b).” Defendants concede that they did
not demonstrate reasonable diligence.
    Instead, Defendants argue that the express “reasonable
diligence” requirement of Rule 60(b)(2) is excused when the
newly discovered post-judgment evidence is “conclusive.”
To support the argument that the requirement of reasonable
diligence does not apply when newly discovered evidence is
“conclusive,” they assert that Rule 60(b)(2)’s purpose is
“do[ing] justice” and “seeing that justice is done.” But these
repeated appeals invoking the court’s duty to administer
justice do not allow us to read the phrase “reasonable
diligence” out of Rule 60(b)(2).
    Our analysis thus begins—and ends—with the plain
language of Rule 60(b)(2). See In re Kirkland, 75 F.4th
22               MARROQUIN V. CITY OF LOS ANGELES


1030, 1042 (9th Cir. 2023). Rule 60(b)(2)’s text establishes
that the rule was intended to require reasonable diligence,
without exceptions. See Fed. R. Civ. P. 60(b)(2). Under
Rule 60(b)(2), “the court may relieve a party or its legal
representative from a final judgment” for “newly discovered
evidence that, with reasonable diligence, could not have
been discovered in time to move for a new trial under Rule
59(b).” Fed. R. Civ. P. 60(b)(2) (emphasis added).
“Reasonable diligence” is thus an express requirement to
receive relief under Rule 60(b)(2), see Coastal Transfer Co.
v. Toyota Motor Sales, 833 F.2d 208, 211 (9th Cir. 1987),
and the text does not include any exceptions, Fed. R. Civ. P.
60(b)(2).
    Defendants’ invocation of “justice” cannot overcome
this plain language. The Supreme Court chose—after a
multi-step drafting process 5—to prescribe a rule that
expressly requires the movant to exercise “reasonable
diligence” in the discovery of “newly discovered evidence.”
Fed. R. Civ. P. 60(b)(2); 28 U.S.C. § 2072(a) (“The Supreme
Court shall have the power to prescribe general rules of
practice and procedure.”). The drafters of any rule must
weigh competing values, see Rodriguez v. United States,
480 U.S. 522, 526 (1987) (per curiam), and by including the
requirement of “reasonable diligence,” the drafters of Rule
60(b)(2) chose to prioritize the judicial economy and finality
that arises from restricting relief based on newly discovered
evidence to situations when a litigant is, in fact, reasonably

5
  The drafting process begins with an “initial draft . . . prepared by the
Advisory Committee on Civil Rules,” which is then “reviewed by the
Committee on Rules of Practice and Procedure” and, if approved,
“forwarded to the Judicial Conference.” 12A Charles Alan Wright et al.,
Federal Practice and Procedure, App. C n.1 (2024 ed.). If approved by
the Judicial Conference, it is forwarded “to the Supreme Court.” Id.              MARROQUIN V. CITY OF LOS ANGELES              23


diligent in discovering that evidence, see 11 Charles Alan
Wright et al., Federal Practice and Procedure § 2851 (3d
ed. June 2024 update) (Rule 60 “attempts to strike a proper
balance between the conflicting principles that litigation
must be brought to an end and that justice should be done.”).
    Ignoring the plain language of the text would disregard
the drafters’ choice and “frustrate[] rather than effectuate[]”
their intent. Rodriguez, 480 U.S. at 526. The drafters of the
rule could have emphasized seeking justice without
limitation and without prioritizing finality. The rule could
have read: “The court may relieve a party or its legal
representative from a final judgment based on newly
discovered evidence whenever justice so permits.” But this
is not the rule. Instead, Rule 60(b)(2) includes an express
limitation: relief may be granted only if there is “newly
discovered evidence that, with reasonable diligence, could
not have been discovered in time to move for a new trial
under Rule 59(b).” Fed. R. Civ. P. 60(b)(2) (emphasis
added). In doing so, the rule’s drafters made the choice to
limit relief by imposing the requirement to show reasonable
diligence.
    Therefore, because Rule 60(b)(2)’s text plainly requires
reasonable diligence and nowhere provides for a “conclusive
evidence” exception, we hold that such an exception does
not exist. In reaching this holding, we join with the Seventh
Circuit in concluding that there is no exception to Rule
60(b)(2)’s “reasonable diligence” requirement for
“conclusive” evidence. See Cent. States, Se. &amp; Sw. Areas
Pension Fund v. Cent. Cartage Co., 69 F.3d 1312, 1314–15
(7th Cir. 1995). The district court therefore did not abuse its
discretion by denying the Rule 60(b)(2) motion because, as
Defendants concede, they failed to exercise reasonable
diligence in discovering the Staples Center videos.
24            MARROQUIN V. CITY OF LOS ANGELES


                              B.
    Finally, Defendants argue that the district court should
have granted them relief from judgment under one of the
other subsections in Rule 60(b), such as Rule 60(b)(5) or
Rule 60(b)(6). In support, they rely on cases which conclude
that post-judgment motions should not be denied for a failure
to designate the proper subsection. See, e.g., Fisher v.
Kadant, Inc., 589 F.3d 505, 513 (1st Cir. 2009).
    We agree that a district court should consider a Rule
60(b) motion under the subsection that most naturally
applies to the motion’s substance, regardless of the label
used. See McKinney v. Boyle, 404 F.2d 632, 634 (9th Cir.
1968) (holding that a district court erred by denying a motion
labeled as being brought under Rule 60(b)(3), but which, in
substance, was “within ground (6)”). We conclude,
however, that the substance of Defendants’ motion brought
it within Rule 60(b)(2).
     Defendants’ motion first set out the requirements to
obtain relief under Rule 60(b)(2), which include the moving
party (1) “show[ing] the evidence relied on in fact
constitutes newly discovered evidence within the meaning
of Rule 60(b); (2) . . . exercise[ing] due diligence to discover
this evidence; and (3) [demonstrating that] the newly
discovered evidence [is] of such magnitude that production
of it earlier would have been likely to change the disposition
of the case.” Feature Realty, Inc. v. City of Spokane,
331 F.3d 1082, 1093 (9th Cir. 2003) (internal quotation
marks and citation omitted). Defendants’ argument then
mirrored these three requirements, asserting that the Staples
Center videos were “newly discovered,” that they “exercised
due diligence in their attempts to discover” the Staples
Center videos, and that the Staples Center videos were “of
              MARROQUIN V. CITY OF LOS ANGELES              25


such magnitude that production of [them] earlier would have
likely changed the disposition of the case.” The motion thus
raised arguments that, on their face, fell under Rule 60(b)(2).
    Because the motion was substantively a Rule 60(b)(2)
motion—tracking each of the requirements to warrant relief
based on newly discovered evidence—we could end our
analysis here. See McKinney, 404 F.2d at 634 (explaining
that the applicable subsection of Rule 60(b) is determined by
the “main charge” of motion). But it is also worth noting
why Rule 60(b)(5) and Rule 60(b)(6) are inapplicable.
    Rule 60(b)(5) allows a court to relieve a party from a
judgment if “the judgment has been satisfied, released, or
discharged; it is based on an earlier judgment that has been
reversed or vacated; or applying it prospectively is no longer
equitable.” Defendants’ motion did not substantively fall
under this subsection because they did not argue that any
judgment had been satisfied, identify any earlier judgment
on which the district court relied that had then been reversed,
or identify any equitable remedy entered by the district court,
such as an injunction, that they were seeking to modify. See
11 Charles Alan Wright et al., Federal Practice and
Procedure § 2863 (3d ed. June 2024 update); Bellevue
Manor Assocs. v. United States, 165 F.3d 1249, 1253
(9th Cir. 1999) (explaining that “Rule 60(b)(5) is routinely
used to challenge the continued validity of consent decrees”
and “injunction[s]”).
    Defendants’ motion also did not fall under Rule 60(b)(6).
Although Rule 60(b)(6) is a “catch-all” provision, it does not
apply to situations “covered by any of the other reasons set
forth in Rule 60.” Delay, 475 F.3d at 1044. As previously
explained, Defendants’ motion, on its face, fell under Rule
60(b)(2). Moreover, relief under Rule 60(b)(6) is reserved
26            MARROQUIN V. CITY OF LOS ANGELES


for “extraordinary circumstances,” Martinez v. Shinn,
33 F.4th 1254, 1262 (9th Cir. 2022) (per curiam), and
Defendants never argued that their attempt to introduce
newly discovered evidence, without showing reasonable
diligence, constituted an extraordinary circumstance not
covered by any other provision in Rule 60(b).
    We therefore conclude that the district court did not
abuse its discretion by applying Rule 60(b)(2). Because
Defendants’ motion was not only labeled a Rule 60(b)(2)
motion, but was also substantively a Rule 60(b)(2) motion,
the district court reasonably considered whether that motion
met the requirements to receive relief under Rule 60(b)(2).
                             V.
    For these reasons, we conclude that the district court did
not abuse its discretion by ordering a new trial limited to
damages under Rule 59(a), or by denying Defendants’ Rule
60(b)(2) motion.
     AFFIRMED.
